







		NO. 12-08-00103-CR


NO. 12-08-00104-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




EDWARD CHARLES TUCKER,§
	APPEALS FROM THE 241ST

APPELLANT


V.§
	JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


	Appellant Edward Charles Tucker was convicted of burglary of a habitation and reckless
injury to a child.  In his sole issue, Appellant argues that the trial court reversibly erred by admitting
hearsay testimony.  The State did not file a brief.  We affirm.


Background

	Appellant was charged by indictment with burglary of a habitation and intentional or
knowing injury to a child.  Appellant pleaded guilty in the burglary case as charged.  He also pleaded
guilty in the injury to a child case, but only to the lesser included second degree felony of reckless
injury to a child.  The punishment range for each pleaded to offense was subsequently enhanced to
the punishment range of a first degree felony based upon a prior juvenile adjudication.  As part of
his pleas, Appellant elected to have a jury assess his punishment.  The jury assessed Appellant's
punishment in the burglary case at sixty years of imprisonment and a $10,000 fine.  The jury
assessed Appellant's punishment in the reckless injury case at imprisonment for life and a $10,000
fine.  The trial judge orally pronounced sentence in both cases as assessed by the jury. (1)  These
appeals followed. 


Hearsay Testimony

	In his sole issue, Appellant argues that the trial court reversibly erred by admitting hearsay
testimony given by Amanda Robinson.  Robinson testified she overheard a heated dispute between
Appellant and the child victim's mother about "not having sex last night."  She testified that the
mother accused Appellant of abusing their first child, an infant who had died over a year before the
dispute in question.  The accusations of abuse included placing the child under a mattress, holding
her head in vomit, and starving her.  Because these accusations were made during a heated dispute,
the trial court admitted testimony of them as excited utterances.  We have assumed, without
deciding, that the trial court erred by admitting this testimony.

Standard of Review

	The erroneous admission of hearsay evidence is nonconstitutional error.  See Johnson v.
State, 967 S.W.2d 410, 417 (Tex. Crim. App. 1998).  Nonconstitutional error that does not affect
the substantial rights of the defendant must be disregarded.  Tex. R. App. P. 44.2(b).  Therefore, even
if the trial court erred in overruling Appellant's hearsay objections, the error would not warrant
reversal unless it had a substantial and injurious effect or influence in determining the jury's verdict.
See King v. State, 953 S.W.2d 266, 271 (Tex. Crim. App. 1997).  Generally, the improper admission
of evidence does not constitute reversible error if the same facts are shown by other unchallenged
evidence.  See Crocker v. State, 573 S.W.2d 190, 201 (Tex. Crim. App. 1978).

Discussion

	Appellant objected to Robinson's testimony of hearsay accusations made by the mother.  See
Tex. R. Evid. 802.  The State asserted that these accusations were excited utterances, an exception
to the hearsay rule.  See Tex. R. Evid. 803(2).  Further, the State asserted to the trial court that
Robinson would also testify that, during the dispute in question, Appellant admitted to having
committed the abuse alleged by the mother.  The State contended that this testimony was admissible
as admissions by a party opponent, and therefore not hearsay.  See Tex. R. Evid. 801(e)(2). 
Specifically, the State argued as follows:


	Number two, [Appellant] acquiesced as to all of these.  It's also an admission by a party opponent. 
He acquiesced to everything she says.  He admits to everything she says.  He says, "Yes, I did it" to
everything that this witness is going to testify that the [mother] said . . . .


The trial court overruled Appellant's hearsay objection.  Appellant continued to object and obtained
a running objection regarding the mother's hearsay accusations.

	During Robinson's testimony, the State elicited the complained of testimony regarding the
mother's accusations against Appellant.  However, the State also made good on its representations
to the trial court by eliciting the following testimony from Robinson that Appellant admitted the
truth of these hearsay accusations:


	Q	And, ultimately, he admitted doing what he did to that two-month-old baby girl, correct?


	A	Yes, sir.


	Q	And you were standing right there when he did it?


	A	Yes, sir.


	. . . .


	Q	. . . Did he ever express that night any opinion . . . about [the deceased child], how he felt
about [her]?


	A	During the argument, when they were arguing really bad, he told her, he said, "I admit that
I hated her." . . . .


	Q	Did you take that to mean that that's why he committed those acts against her?


	A	Yes, sir.


Appellant did not object to this testimony.  Assuming the trial court's allowance of the mother's
accusations was improper, such allowance does not constitute reversible error because the same facts
were shown by the unchallenged testimony of Appellant's admissions.  See Crocker, 573 S.W.2d
at 201.  We overrule Appellant's sole issue.




Disposition

	We affirm the judgments of the trial court.


								     JAMES T. WORTHEN    

									     Chief Justice



Opinion delivered September 2, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.
















(DO NOT PUBLISH)
1.  The trial court's judgment in the reckless injury case indicates a fine of "$0.00," in conflict with the trial
court's oral pronouncement. 


